
PER CURIAM.
The State concedes that the trial court erred by disregarding the recommendation of the Department of Juvenile Justice that Appellant remain on probation. Instead, the trial court adjudicated Appellant delinquent and committed him to a moderate risk facility, and failed to state its reasons on the record for deviating from the Department’s recommendation. See § 985.23(3)(c), Fla. Stat. (2006). Additionally, it failed to reference the characteristics of a moderate risk placement vis-a-vis Appellant’s needs. Failure to do so constitutes reversible error. See C.C.B. v. State, 828 So.2d 429, 431 (Fla. 1st DCA 2002) (explaining “[t]he trial court must not only state its reasons for disregarding the recommended restrictiveness level on the rec*1171ord, the reasons must also be supported by a preponderance of the evidence and must make reference to the characteristics of the restrictiveness level vis-a-vis the needs of the child.”). Accordingly, we reverse the disposition order and remand for a new disposition hearing. C.M.K. v. State, 855 So.2d 1234 (Fla. 1st DCA 2003).
REVERSED and REMANDED.
BENTON, HAWKES and THOMAS, JJ., concur.
